                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA,                        )
                                                 )   Case No: 1:09-CR-181
       v.                                        )
                                                 )   Chief Judge Curtis L. Collier
DONNA SHROPSHIRE                                 )
                                                 )


                                             ORDER

       Before the Court is Defendant Donna Shropshire’s (“Defendant”) motion to suppress

statements made on September 15, 2009 (Court File No. 594). The Court referred this motion to

United States Magistrate Judge William B. Mitchell Carter pursuant to 28 U.S.C. § 636(b)(1)(B) and

(C) (Court File No. 613). Judge Carter held an evidentiary hearing on the matter and issued a Report

and Recommendation (“R&R”) on the motion (Court File No. 1059). Defendant filed timely

objections to the R&R (Court File No. 1066), and the Government filed a response (Court File No.

1078). For the reasons stated in the accompanying memorandum, the Court ACCEPTS and

ADOPTS the R&R (Court File No. 1059). Defendant’s motion to suppress is DENIED (Court File

No. 594).

       SO ORDERED.

       ENTERED:



                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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